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                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                   TAMPA DIVISION

UNITED STATES OF AMERICA

v.                                                 CASE NO: 8:10-cr-56-T-EAK-JSS

VINCENTE ESPINDOLA


     Order Granting Defendant’s Unopposed Motion for Prison-Term Reduction Under 18
                      U.S.C. § 3582(c)(2) Based on USSG Amend. 782

         Before the Court is the defendant’s motion to reduce his prison term under 18 U.S.C. §

3582(c)(2) based on USSG Amend. 782, a retroactive guideline amendment, see USSG

§1B1.10(d) (2014). Doc.# 195. The United States does not oppose a reduction. Doc. #195. The

parties stipulate that he is eligible for a reduction because Amendment 782 reduces the guideline

range applicable to him, see USSG §1B1.10(a)(1). Doc. #195. The Court agrees that he is

eligible for a reduction and adopts the amended guideline calculations in the parties’ stipulation.

Doc. #195.

         Having reviewed the facts in both the original presentence investigation report and the

July 24, 2015 memorandum from the United States Probation Office in light of the factors in 18

U.S.C. § 3553(a) and the need to consider the nature and seriousness of any danger posed by a

reduction, see USSG §1B1.10, comment. (n.1(B)(ii)), the Court finds that a reduction of 27

months is warranted. Consistent with USSG §1B1.10(e)(1).

         Thus:

         (1)     The Court grants the defendant’s motion, Doc. #195.

         (2)     The Court reduces the defendant’s prison term from 135 to 108 months or time

                 served, whichever is greater.
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      DONE and ORDERED in Chambers, Tampa, Florida on February , 2016.




            Copies furnished to:

            Counsel of Record
            Magistrate Judge
            United States Marshals Service
            United States Probation Office
            United States Pretrial Services
